                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN

                                  Court Minutes and Order

DATE:      May 4, 2021
JUDGE:     Pamela Pepper
CASE NO:   2016-cv-662
CASE NAME: Jerpaul Spencer v. Michael Vagnini, et al.
NATURE OF HEARING:       Status Conference
APPEARANCES:             Nathaniel Cade, Jr. – Attorney for the plaintiff
                         Susan Lappen – Attorney for the defendants
COURTROOM DEPUTY:        Kristine Wrobel
TIME:                    11:07 a.m. – 11:23 a.m.
                 AUDIO OF THIS HEARING AT DKT. NO. 137
       The court noted that this was the first hearing since it had ruled on the
motion for summary judgment. The court asked the parties how they wanted to
proceed, adding that it understood the parties previously had tried mediation
but was wondering whether they might be open to trying again now that the
issues have been narrowed or whether they preferred to schedule a final
pretrial conference and a trial.
      Counsel for the plaintiff indicated that it appeared the case would
proceed to trial. Counsel understood that Ms. Lappen, current defense counsel,
had not been part of the defense team at the time of the mediation, but he
opined that after some statements prior defense counsel had made outside the
mediation context, he had concerns that mediation would not be fruitful. He
explained that if the attitude of the previous attorney was shared by the
defendants, there was no point in trying mediation. Counsel noted that this
case was aging and needed to come to a resolution.
      Defense counsel explained that she had inherited this case from her
predecessor only late last week. Counsel had not had enough time to
thoroughly review the case. Counsel stated that at this point, she did have
authority from the City to resolve the case. Counsel indicated that she was
open to mediation but would need time to review the case file and the
deposition transcripts.
      The plaintiff’s counsel believed the trial would take about four days;
defense counsel explained that she had not yet received the physical file so she
was unable to surmise how long the trial might take.
      The court proposed that it give defense counsel time to review the file
and the parties time to discuss possible resolution and trial logistics. The
parties can file a status report by a date certain advising the court of the length
of time needed for the trial and time frames during which they would be
available for trial. The court told the parties that they are welcome to try

                                             1

         Case 2:16-cv-00662-PP Filed 05/04/21 Page 1 of 2 Document 138
mediation with either a magistrate judge or a third-party mediator; if they want
to use a magistrate judge, they need only jointly notify the court.
      The court ORDERS the parties to file a status report by the end of the
day on May 21, 2021 advising the court of the estimate of the length of the trial
and periods the parties will be available for the court to schedule that trial.
      Dated in Milwaukee, Wisconsin this 4th day of May, 2021.
                                            BY THE COURT:


                                            _____________________________
                                            HON. PAMELA PEPPER
                                            Chief United States District Judge




                                        2

        Case 2:16-cv-00662-PP Filed 05/04/21 Page 2 of 2 Document 138
